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                                  Slip Op. 21-55

          UNITED STATES COURT OF INTERNATIONAL TRADE


 RISEN ENERGY CO., LTD.,

        Plaintiff,

 and

 SUNPOWER MANUFACTURING
 OREGON, LLC,

        Consolidated Plaintiff,

 and

 SHANGHAI BYD CO., LTD. ET AL.,
                                                   Before: Claire R. Kelly, Judge
        Plaintiff-Intervenors,
                                                   Consol. Court No. 19-00153
 v.

 UNITED STATES,

        Defendant,

 and

 SUNPOWER MANUFACTURING
 OREGON, LLC ET AL.,

        Defendant-Intervenor and
        Consolidated Defendant-
        Intervenors.


                                    OPINION

[Sustaining the U.S. Department of Commerce’s remand redetermination in the fifth
administrative review of the antidumping duty order on crystalline silicon
photovoltaic cells, whether or not assembled into modules from the People’s Republic
of China.]
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                                                                  Dated: May 5, 2021

Gregory S. Menegaz, Alexandra H. Salzmanm, and J. Kevin Horgan, deKieffer &
Horgan, PLLC, of Washington, DC, for plaintiff.

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Washington, DC, for consolidated plaintiff and defendant-intervenor SunPower
Manufacturing Oregon, LLC.

Craig A. Lewis, Jonathan T. Stoel, Nicholas A. Sparks, Michael G. Jacobson, and
Lindsay K. Brown, Hogan Lovells US LLP, of Washington, DC, for plaintiff-
intervenors Canadian Solar, Inc., Canadian Solar International Limited, Canadian
Solar Manufacturing (Changshu), Inc., Canadian Solar Manufacturing (Luoyang),
Inc., CSI Cells Co., Ltd., CSI-GCL Solar Manufacturing (YanCheng) Co., Ltd.,
Canadian Solar (USA), Inc. and Shanghai BYD Co., Ltd.

Neil R. Ellis, Richard L.A. Weiner, Rajib Pal, Shawn M. Higgins, and Justin R.
Becker, Sidley Austin, LLP, of Washington, DC, for plaintiff-intervenors Yingli Green
Energy Holding Co., Ltd., Baoding Tianwei Yingli New Energy Resources Co., Ltd.,
Tianjin Yingli New Energy Resources Co., Ltd., Hengshui Yingli New Energy
Resources Co., Ltd., Lixian Yingli New Energy Resources Co., Ltd., Baoding Jiasheng
Photovoltaic Technology Co., Ltd., Beijing Tianneng Yingli New Energy Resources
Co., Ltd., Hainan Yingli New Energy Resources Co., Ltd., Shenzhen Yingli New
Energy Resources Co., Ltd., Yingli Green Energy International Trading Co., Ltd., and
Yingli Energy (China) Co., Ltd.

Joshua E. Kurland, Trial Attorney, Commercial Litigation Branch, U.S. Department
of Justice, of Washington, DC, for defendant. Also on the briefs were Ethan P. Davis
and Brian M. Boynton, Acting Assistant Attorneys General, Jeanne E. Davidson,
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DC, for consolidated defendant-intervenors Chint Solar (Zhejiang) Co., Ltd., Chint
Energy (Haining) Co., Ltd., Chint Solar (Jiuquan) Co., Ltd., and Chint Solar (Hong
Kong) Company Limited.
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      Kelly, Judge:    Before the court is the U.S. Department of Commerce’s

(“Commerce”) remand redetermination filed pursuant to the court’s order in Risen

Energy Co. v. United States, 44 CIT __, 477 F. Supp. 3d 1332 (2020) (“Risen I”). See

also Final Results of Redetermination Pursuant to Ct. Order, Jan. 27, 2021, ECF No.

86-1 (“Remand Results”). In Risen I, the court sustained in part and remanded in

part Commerce’s final determination in the fifth administrative review of the

antidumping duty (“ADD”) order on crystalline silicon photovoltaic cells, whether or

not assembled into modules (“solar cells”) from the People’s Republic of China (“PRC”

or “China”). See Crystalline Silicon Photovoltaic Cells, Whether or Not Assembled

Into Modules, From the [PRC], 84 Fed. Reg. 36,886 (Dep’t Commerce July 30, 2019)

(final results of [ADD] admin. review and final determination of no shipments; 2016–

2017) (“Final Results”) and accompanying Issues and Decisions Memo for the [Final

Results], A-570-979, (July 24, 2019), ECF No. 33-2 (“Final Decision Memo”).

      The court ordered Commerce to 1) reconsider or explain application of partial

facts otherwise available with an adverse inference (“AFA”) 1 to Risen, and 2)

incorporate, to the extent required by law, any adjustments to Risen’s dumping




1 Parties and Commerce sometimes use the shorthand “AFA” or “adverse facts
available” to refer to Commerce's reliance on facts otherwise available with an
adverse inference to reach a final determination. AFA, however, encompasses a two-
part inquiry established by statute. See Section 776 of the Tariff Act of 1930, as
amended, 19 U.S.C. § 1677e(a)–(b) (2018). It first requires Commerce to identify
information missing from the record, and second, to explain how a party failed to
cooperate to the best of its ability as to warrant the use of an adverse inference when
“selecting among the facts otherwise available.” Id.
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margin resulting from the remand redetermination into its calculation of the separate

rate or separate rates applicable to individual respondents. See Risen I, 44 CIT at

__, 477 F. Supp. 3d at 1348.   In its Remand Results, Commerce, under respectful

protest, 2 decides not to apply an adverse inference in selecting from among the facts

otherwise available in calculating Risen’s dumping margin. See Remand Results at

1–2. Commerce instead “average[s] consumption rates reported by Risen for the

relevant control numbers in place of the unreported [factors of production (“FOP”)]

consumption rates.” Id. at 4. No party filed comments on the Remand Results with

the court. Defendant requests that this court sustain Commerce’s remand results.

See Defendant’s Request to Sustain [Remand Results] at 1–2, Mar. 26, 2021, ECF No.

88 (“Def.’s Br.”). For the reasons that follow, the court sustains Commerce’s Remand

Results.

                                  BACKGROUND

      The court presumes familiarity with the facts of this case as set out in its

previous opinion ordering remand to Commerce, and now recounts those relevant to

the court’s review of the Remand Results. See Risen I, 44 CIT at __, 477 F. Supp. 3d

at 1337–39. In 2012, Commerce published the ADD order covering solar cells from

China.     See generally Crystalline Silicon Photovoltaic Cells, Whether or Not

Assembled Into Modules, From the [PRC], 77 Fed. Reg. 73,018 (Dep’t Commerce Dec.


2 By adopting a position forced upon it by the Court “under protest,” Commerce
preserves its right to appeal. See Viraj Grp., Ltd. v. United States, 343 F.3d 1371,
1376 (Fed. Cir. 2003).
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7, 2012) (amended final determination of sales at less than fair value, and [ADD]

order). On February 23, 2018, in response to timely requests, Commerce initiated its

fifth administrative review of the ADD Order. See generally Initiation of [ADD] &

Countervailing Duty Admin. Reviews, 83 Fed. Reg. 8,058 (Dep't Commerce Feb. 23,

2018). Commerce chose Risen and Chint Solar Zhejiang Co., Ltd. (“Chint Solar”) as

mandatory respondents. See Resp’t Selection Memo [for 2016-2017 Admin. Review]

at 6, A-570-979, PD 79, bar code 3682915-01 (Mar. 15, 2018) (selection of Risen as

mandatory respondent); 3 Second Resp’t Selection Memo [for 2016-2017 Admin.

Review] at 1, A-570-979, PD 147, bar code 3696673-01 (Apr. 19, 2018) (selection of

Chint Solar as additional mandatory respondent); Crystalline Silicon Photovoltaic

Cells, Whether or Not Assembled Into Modules, From the [PRC], 83 Fed. Reg. 67,222

(Dep’t Commerce Dec. 28, 2018) (prelim. results of [ADD] admin. review and prelim.

determination of no shipments; 2016–2017) (“Prelim. Results”) and accompanying




3 On November 12, 2019, Defendant submitted indices to the confidential and public
administrative records underlying Commerce's final determination. These indices
are located on the docket at ECF No. 33-3–4, respectively. Subsequently, on February
1, 2021, Defendant submitted indices to the confidential and public administrative
record underlying Commerce’s remand redetermination. These indices are located
on the docket at ECF No. 87-2–3, respectively. All further references in this opinion
to documents from the initial administrative record are identified by the numbers
assigned by Commerce in those indices and preceded by “PD” and “CD” to denote
public or confidential documents. All references to documents in the administrative
record underlying the remand redetermination are similarly identified by the
numbers assigned by Commerce in those indices and preceded by “PRR” and “CRR”
to denote public or confidential documents.
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Decision Memo for the [Prelim. Results] at 2–3, 7–9, A-570-979, PD 497, bar code

3785207-01 (Dec. 20, 2018) (“Prelim. Decision Memo”).

         Plaintiff Risen and Plaintiff-Intervenors challenged Commerce’s decision to

apply partial AFA when calculating the normal value of Risen’s entries of subject

merchandise to fill gaps in the record caused by the refusal of certain unaffiliated

suppliers to cooperate with Commerce’s investigation. See, e.g., Pl. [Risen’s] Memo

Supp. Mot. J. Agency R. at 1–2, 14–34, Mar. 26, 2020, ECF No. 40-2; Pl.-Intervenors’

[Canadian Solar & Shanghai] Memo Supp. Mot. J. Agency R. at 2–3, 9–18, Mar. 26,

2020, ECF No. 42-1. In Risen I, the court remanded on the issue of applying partial

AFA to Risen. See Risen I, 44 CIT at __, 477 F. Supp. 3d at 1348.

         In its Remand Results, Commerce reconsiders its application of partial AFA to

Risen, and under respectful protest, Commerce declines to apply partial AFA, and

instead relies on consumption rates provided by Risen to fill in the missing FOP

consumption rates. See Remand Results at 1–2, 4. No party filed comments to the

Remand Results. Defendant requests that this court sustain the Remand Results.

See Def.’s Br. at 1–2.

                   JURISDICTION AND STANDARD OF REVIEW

         This court has jurisdiction pursuant to Section 516A of the Tariff Act of 1930,

as amended, 19 U.S.C. § 1516a(a)(2)(B)(iii) (2018) 4 and 28 U.S.C. § 1581(c) (2018), 5


4 Further citations to the Tariff Act of 1930, as amended, are to the relevant
provisions of Title 19 of the U.S. Code, 2018 edition.
5   Further citations to Title 28 of the U.S. Code are to the 2018 edition.
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which grant the court authority to review actions contesting the final determination

in an administrative review of an ADD order. The court will uphold Commerce’s

determination unless it is “unsupported by substantial evidence on the record, or

otherwise not in accordance with law.” 19 U.S.C. § 1516a(b)(1)(B)(i). “The results of

a redetermination pursuant to court remand are also reviewed ‘for compliance with

the court’s remand order.’” Xinjiamei Furniture (Zhangzhou) Co. v. United States,

38 CIT __, __, 968 F. Supp. 2d 1255, 1259 (2014) (quoting Nakornthai Strip Mill

Public Co. v. United States, 32 CIT 1272, 1274, 587 F. Supp. 2d 1303, 1306 (2008)).

                                   DISCUSSION

      On remand, Commerce reconsiders its decision and, under respectful protest,

decides not to apply partial AFA to Risen when calculating the normal value of

Risen’s entries of subject merchandise to fill gaps in the record (missing FOP

consumption rates) that exist because of uncooperative, unaffiliated suppliers. See

Remand Results at 1–2. Rather, Commerce averages the consumption rates that

Risen provided and uses the calculated average to fill in the missing FOP

consumption rates. See id. at 4. No party filed comments on the Remand Results,

and Defendant requested that the court affirm the remand redetermination. See

Def.’s Br. at 1–2.

      To determine the normal value of the subject merchandise in NME countries

Commerce solicits input data and surrogate values for those inputs from the parties.

See e.g., Globe Metallurgical, Inc. v. United States, 32 CIT 1070, 1075 (2008). Where,
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despite its solicitations, information necessary to calculate normal value is not

available on the record, Commerce uses “facts otherwise available” in place of the

missing information. See 19 U.S.C. § 1677e(a)(1). 6 If Commerce further “finds that

an interested party has failed to cooperate by not acting to the best of its ability to

comply with a request for information,” Commerce may apply “an inference that is

adverse to the interests of that party in selecting from among the facts otherwise

available[.]” Id. § 1677e(b)(1). However, under certain circumstances, Commerce

may incorporate an adverse inference under § 1677e(a) in calculating a cooperative

respondent’s margin, if doing so will yield an accurate rate, promote cooperation, and

thwart duty evasion. See Mueller Comercial de Mexico S. De R.L. de C.V. v. United

States, 753 F.3d 1227, 1232–36 (Fed. Cir. 2014) (“Mueller”). When analyzing the use




6   19 U.S.C. § 1677e(a) also applies where an interested party or any other person—

        (A) withholds information that has been requested by the administering
        authority or the Commission under this title,
        (B) fails to provide such information by the deadlines for submission of the
        information or in the form and manner requested, subject to subsections (c)(1)
        and (e) of section 782 [19 USCS § 1677m(c)(1) and (e)],
        (C) significantly impedes a proceeding under this title, or
        (D) provides such information but the information cannot be verified as
        provided in section 782(i) [19 USCS § 1677m(i)], the administering authority
        and the Commission shall, subject to section 782(d) [19 USCS § 1677m(d)], use
        the facts otherwise available in reaching the applicable determination under
        this title.
19 U.S.C. § 1677e(a)(2).
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of an adverse inference as a part of a § 1677e(a) analysis, the predominant concern

must be accuracy. See id. at 1233.

      Commerce’s decision is supported by substantial evidence and complies with

the court’s remand order. Commerce’s use of facts otherwise available—namely, the

consumption rates provided by Risen—comports with the relevant statute that

instructs Commerce to refer to such facts to fill in missing information. See 19 U.S.C.

§ 1677e(a)(1). Moreover, Commerce’s decision not to use partial AFA to calculate

Risen’s dumping margin is consistent with the directive from Mueller that accuracy

must be the driving force behind a decision to draw an adverse inference. See

Mueller, 753 F.3d at 1233. As the court noted in its opinion ordering remand,

Commerce, in its final results, did not point to any evidence that applying an adverse

inference to Risen, and thus applying the highest FOP consumption rates on the

record, would thwart duty evasion, promote cooperation or lead to calculation of an

accurate dumping margin. See Risen I, 44 CIT at __, 477 F. Supp. 3d at 1343–44. 7

Commerce now explains the method it uses on remand and no party challenges

Commerce’s results or its chosen methodology.




7 The court also questioned whether application of the highest FOP on the record
furthered Commerce’s policy objectives of encouraging cooperation in its
investigations by interested parties. See Risen I, 44 CIT at __, 477 F. Supp. 3d at
1342–43.
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                                 CONCLUSION

      For the foregoing reasons, Commerce’s Remand Results are supported by

substantial evidence and comply with the court’s order in Risen I, and are therefore

sustained. Judgment will enter accordingly.


                                                   /s/ Claire R. Kelly
                                                   Claire R. Kelly, Judge


Dated:      May 5, 2021
            New York, New York
